IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11
iPic-Gold Class Entertainment, LLC, ef al.,! | Case No. 19-11739 (LSS)

Debtors. (Jomtly Administered)

 

INTERIM ORDER: (A) AUTHORIZING DEBTORS IN POSSESSION TO
(1) OBTAIN POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 362,
363, AND 364, TD) GRANT LIENS AND SUPERPRIORITY CLAIMS TO
POSTPETITION LENDERS PURSUANT TO 11 U.S.C, 8§ 364; (111) USE CASH
COLLATERAL, AND (TV) PROVIDE ADEQUATE PROTECTION TO
PREPETITION CREDIT PARTIES, (B) MODIFYING AUTOMATIC
STAY PURSUANT TO 11 U.S.C. §§ 361, 362, 363, AND 364; AND
(C) SCHEDULING FINAL HEARING PURSUANT TO BANKRUPTCY
RULES 4001(B) AND (C) AND LOCAL BANKRUPTCY RULE 4001-2

This matter is before the Court on the Motion (the “Motion”) of IPIC-GOLD
CLASS ENTERTAINMENT, LLC (PIC Entertainment”), [PIC GOLD CLASS HOLDINGS
LLC (IPIC Holdings”), PIC TEXAS, LLC (“IPIC Texas”), IPIC MEDIA, LLC (“IPIC Media”),
and DELRAY BEACH HOLDINGS, LLC (“Delray Beach” and collectively with IPIC
Entertainment, IPIC Holdings, IPIC Texas, and IPIC Media, the “Debtors”)* in these chapter 11
cases (the “Chapter 11 Cases”), requesting entry of an interim order (this “Interim Order”) and a
final order (the “Final Order”) pursuant to Sections 105, 361, 362, 363(c), 363(e), 364(c)(1),
364(c)(2), 364(c)(3), 364(d)(1), and 364(e) of Title 11 of the United States Code (as amended,

the “Bankruptcy Code”) and Rules 2002, 4001, and 9014 of the Federal Rules of Bankruptcy

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: iPic-Gold Class Entertainment, LLC (4684); iPic Entertainment Inc. (9582); iPic Gold
Class Holdings LLC (6315); iPic Media, LLC (0150); iPic Texas, LLC (N/A); and Delray Beach Holdings, LLC

(1035). The Debtors’ principal place of business is 433 Plaza Real, Suite 335, Boca Raton, FL 33432.

? Debtor iPic Entertainment, Inc. is not a party to the DIP Facility (as defined below). Fo” Pie poses of Hus

Aukerum Order the term “Delpters® dees not pnclude Pic Eplertaunment , Inc,

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Procedure (as amended, the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of
Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District
of Delaware (as amended, the “Local Bankruptcy Rules”):

(1) authorizing the Debtors to obtain post-petition financing from the Teachers’
Retirement System of Alabama, a body corporate of the State of Alabama created under Section
§§ 16-25-1 et seq., of the Alabama Code (“TRSA”), and the Employees’ Retirement System of
Alabama, a body corporate of the State of Alabama created under Section §§ 16-25-1, ef seq., of
the Alabama Code (“ERSA,” together with TRSA, each a “DIP Lender,” and collectively, the
“DIP Lenders”), consisting of a superpriority, secured revolving credit facility in the principal
amount of up to $16,000,000 (the “DIP Facility”) to be used for general working capital and
liquidity purposes, including the payment of Administrative Expenses as described herein and in
that certain Debtor-In-Possession Loan and Security Agreement, dated August 5, 2019, by and
among the DIP Lenders, as Lenders, and the Debtors, as Borrower (substantially in the form
attached to the Motion, together with all schedules, exhibits and annexes thereto, and as any time

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amended, the “DIP Loan Agreement”), of which amount $48,500,000 will be available under the
DIP Facility on an interim basis (the “Interim Amount Limit”) during the Interim Period (as
defined below), on the terms and conditions set forth in the DIP Loan Documents (as defined in
the DIP Loan Agreement) and in this Interim Order;

(2) authorizing the Debtors to execute and enter into the DIP Loan Documents and
to perform all such other and further acts as may be required in connection with the DIP Loan
Documents;

(3) authorizing the Debtors to use proceeds of the DIP Facility solely as expressly

permitted in the DIP Loan Decuments and in accordance with this Interim Order;

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(4) granting automatically perfected (i) priming security interests in and liens on all
of the DIP Collateral (as defined below) solely with respect to the Pre-Petition Debt and the Pre-
Petition Collateral (as defined below) and (ii) non-priming security interests in and liens on all
DIP Collateral upon which there are either pre-existing permitted senior liens or no pre-existing
liens, to the DIP Lenders to the extent provided herein, and granting superpriority administrative
expense status to the DIP Obligations (as defined below);

(5) authorizing the Debtors to use Cash Collateral (as defined below), subject to the
Interim Amount Limit during the Interim Period;

(6) providing adequate protection to the Pre-Petition Lender (as defined below) to
the extent of any diminution in value of its interests in the DIP Collateral (as defined below) and
subject to the Carve-Out (as defined below);

(6) authorizing the Debtors to pay the principal, interest, fees, expenses,
disbursements, and other amounts payable under the DIP Loan Documents as such amounts
become due and payable;

(7) vacating and modifying the automatic stay pursuant to Section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of
this Interim Order and the other DIP Loan Documents;

(8) subject only to and effective upon entry of the Final Order, waiving the
Debtors’ ability to surcharge against collateral pursuant to Section 506(c) of the Bankruptcy Code;

(9) scheduling a final hearing (the “Final Hearing”) to consider entry of the Final
Order, and in connection therewith, giving and prescribing the manner of notice of the Final
Hearing on the Motion; and

(10) granting the Debtors such other and further relief as is just and proper.

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Based upon the Court’s review of the Motion, the exhibits attached thereto,
the Declaration of David M. Baker in Support of First Day Motions, sworn to as of August
5, 2019 (the “First Day Declaration”), and all matters brought to the Court's attention at the
interim hearing, which was held on August 6, 2019, pursuant to Bankruptcy Rules 4001(b)(2)
and (c)(2) (the “Interim Hearing”), and after due deliberation and consideration, and good and
sufficient cause appearing therefor,

IT IS HEREBY FOUND, DETERMINED, AND ADJUDGED, that:

lL. Disposition. The Motion is hereby GRANTED, as and to the extent
provided herein. Any and all objections to the relief requested in the Motion, to the extent not
otherwise withdrawn, waived, or resolved by consent at or before the Interim Hearing, and all
reservations of rights included therein, are hereby OVERRULED and DENIED.

2. Jurisdiction; Core Proceeding, This Court has jurisdiction over these
Chapter 11 Cases, this Motion, and the parties and property affected hereby pursuant to 28 U.S.C.
§§ 157(b) and 1334. This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409,

3. Service of Motion and Notice of Interim Hearing. The Debtors have caused
to be served a notice of the Motion and the Interim Hearing, including a copy of the proposed
Interim Order and Budget (as defined below), by electronic mail, telecopy transmission, hand
delivery, overnight courier or first class United States mail upon the Office of the United States
Trustee (the “U.S. Trustee”), the consolidated 30 largest unsecured creditors of the Debtors, the
Internal Revenue Service, all parties who have filed requests prior to the date of service for notices

under Rule 2002 of the Bankruptcy Rules, and all parties known by a Debtor to hold or assert a

 

3 The findings and conclusions set forth herein constitute this Court's findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

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lien on any asset of a Debtor. The foregoing notice of the Motion, as it relates to this Interim Order
and the Interim Hearing, is appropriate, due and sufficient under the Bankruptcy Code, the
Bankruptcy Rules, and the Local Bankruptcy Rules, including, without limitation, Sections 102(1)
and 364 of the Bankruptcy Code and Bankruptcy Rule 4001(b), (c) and (d), and that no further
notice of the relief sought at the Interim Hearing and the relief granted herein is necessary or
required,

4, Petition Date. On August 5, 2019 (the “Petition Date”), each of Debtors
filed with the Court its respective voluntary petition for relief under chapter 11 of the Bankruptcy
Code, and each is continuing to manage its properties and to operate its business as a debtor-in-
possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner
has been appointed for any Debtor herein.

5. Debtors’ Stipulations. Without prejudice to the rights of any other party
(but subject to the limitations thereon contained in Paragraph 26 below), each Debtor,

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aihading Debtor iPic Entertainment, Inc., admits, stipulates, acknowledges and agrees as follows:

a. Pre-Petition Loan Documents. Pursuant to that certain Second

 

Amended and Restated Master Loan and Security Agreement dated February 1, 2018, as amended
by Modification Agreement dated June 22, 2018, as further amended by Second Modification

Agreement dated June 29, 2018, as further amended by Third Modification Agreement dated

March 4, 2019 (as so amended, the “Pre-Petition Loan Agreement”), by and among 4P#-GOLD |

 

     

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Debtors Covdeing Pee Enteriainmernh | ie)
MEDIA; LLC, DELRAY. BEACH HOLDINGS, LE€4and BAY COLONY REALTY, LLC,4

    

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collectively, the “Pre-Petition Obligors”), TRSA, as administrative and collateral agent (together,

 

 

4 Bay Coiony Realty, LLC was dissolved prepetition and is not a Debtor in these proceedings.

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the “Pre-Petition Agent”), and TRSA and ERSA as Lenders (the “Pre-Petition Lenders,” and
collectively with the Pre-Petition Agent, the “Pre-Petition Credit Parties”), made a term loan
facility available to the Pre-Petition Obligors in an aggregate principal amount not to exceed
$225,828,169. The Pre-Petition Loan Agreement, together with any other agreement, note,
instrument, guaranty, mortgage, fixture filing, deed of trust, financing statement, pledge,
assignment, and other document executed at any time in connection therewith, in each case as the
same may be amended, modified, restated or supplemented from time to time, are hereinafter
referred to collectively as the “Pre-Petition Loan Documents”).

b. Pre-Petition Collateral. Pursuant to certain of the Pre-Petition Loan
Documents, the Pre-Petition Obligors granted the Pre-Petition Agent, for the benefit of the Pre-
Petition Credit Parties and to secure such Pre-Petition Obligors’ obligations and indebtedness
under the Pre-Petition Loan Documents, first priority liens on and security interests in (the “Pre-

Petition Security Interests”) the Collateral, as defined in the Pre-Petition Loan Agreement and

 

Collateral Documents (hereafter, the “Pre-Petition Collateral”).

c. Pre-Petition Obligations. As of the Petition Date, the Pre-Petition
Obligors, jointly and severally, were justly and lawfully indebted and liable under the Pre-Petition
Loan Documents to the Pre-Petition Credit Parties for term loans in the outstanding principal
amount of $205,340,772 (the “Pre-Petition Loans”, and together with all other obligations of any
Pre-Petition Obligor in respect of mdemnities, guaranties and other payment assurances given by
any Pre-Petition Obligor for the benefit of Pre-Petition Credit Parties, and all interest, fees, costs,
legal expenses and all other amounts heretofore or hereafter accruing thereon or at any time
chargeable to any Pre-Petition Obligor in connection therewith, collectively referred to as the “Pre-

Petition Debt”). Each Debtor acknowledges and stipulates that: (i) the Pre-Petition Debt is due

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and owing to the Pre-Petition Credit Parties without any defense, offset, recoupment or
counterclaim of any kind; (ii) the Pre-Petition Debt constitutes the legal, valid and binding
obligation of each Pre-Petition Obligor, enforceable in accordance with its terms; (iii) and none of
the Pre-Petition Debt or any payments made to any Pre-Petition Credit Party or applied to the
obligations owing under any Pre-Petition Loan Document prior to the Petition Date is subject to
avoidance, subordination, re-characterization, recovery, attack, offset, counterclaim, defense or
Claim (as defined in the Bankruptcy Code) of any kind pursuant to the Bankruptcy Code or
applicable non-bankruptcy law.

d. Cash Collateral. Substantially all cash, securities or other property
of the Pre-Petition Obligors (and the proceeds therefrom) as of the Petition Date, including,
without limitation, all amounts on deposit or maintained by any Pre-Petition Obligor in any
account with any Pre-Petition Credit Party or any bank or other depository institution (each a
“Depository Institution”), was subject to rights of setoff or to valid, perfected, enforceable first-
priority liens under the Pre-Petition Loan Documents and applicable law, and is included in the
Pre-Petition Collateral, and therefore the Pre-Petition Obligors’ cash balances are cash collateral
of the Pre-Petition Credit Parties within the meaning of Section 363(a) of the Bankruptcy Code.
All such cash (including, without limitation, all proceeds of Pre-Petition Collateral and all proceeds
of property encumbered by liens and security interests granted under this Interim Order), is referred
to herein as “Cash Collateral.”

e, Releases, Subject to Paragraph 26 below, the Pre-Petition Obligors
hereby absolutely, unconditionally and irrevocably waive, discharge and release each of the Pre-
Petition Credit Parties of and from any and all “Claims” (as defined in the Bankruptcy Code),

counterclaims, actions, debts, accounts, causes of action (including, without limitation, causes of

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action in the nature of “lender liability”), defenses or setoff rights that any of them may have
against any Pre-Petition Credit Party or any of the respective present and former predecessors,
successors, assigns, affiliates, members, partners, managers, current and former equity holders,
officers, agents, employees, attorneys and affiliates of any Pre-Petition Credit Party which arise
out of or in any manner relate to any of the Pre-Petition Loan Documents or any acts, inaction, or
transactions thereunder, whether known or unknown, disputed or undisputed, at law or in equity,
including, without limitation, (i) any re-characterization, subordination, avoidance or other claim
arising under or pursuant to section 105 or chapter 5 of the Bankruptcy Code or under any other
similar provisions of applicable state law, federal law or municipal law and (41) any right or basis
to challenge or object to the amount, validity or enforceability of the applicable Pre-Petition Debt
or any payments made on account of the applicable Pre-Petition Debt, or the validity,
enforceability, priority or non-avoidability of the applicable Pre-Petition Security Interests
securing the applicable Pre-Petition Debt.

f. Need for Financing. An immediate and ongoing need exists for the
Debtors to obtain the DIP Facility in order to permit, among other things, the orderly continuation
of the operation of their business, to maintain business relationships with vendors, suppliers and
customers, to pay payroll obligations, and to satisfy other working capital, development, and
operational needs so as to maximize the value of their respective businesses and assets as debtors
in possession under chapter 11 of the Bankruptcy Code. The Debtors do not have sufficient
available resources of working capital to operate their businesses in the ordinary course without
post-petition financing. The Debtors’ ability to continue growth, maintain business relationships

with vendors and customers, to pay employees, and otherwise to fund operations is essential to

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the Debtors’ viability and to the preservation of the going concern value of their businesses pending
a sale of their assets,
6. Findings Regarding the DIP Facility.

a. Good Cause. Good cause has been shown for the entry of this
Interim Order and authorization for the Debtors to incur DIP Obligations pursuant to the DIP Loan
Agreement and use Cash Collateral as hereinafter provided up to the Interim Amount Limit during
the Interim Period. Each Debtor’s need for financing of the type afforded by the DIP Loan
Agreement and the use of Cash Collateral is immediate and critical. Entry of this Interim Order
will preserve the assets of each Debtor’s estate and its value and is in the best interests of Debtors,
their creditors and their estates. The terms of the proposed financing are fair and reasonable, reflect
each Debtor's exercise of business judgment, and are supported by reasonably equivalent value
and fair consideration.

b. Proposed DIP Facility. The Debtors have requested that the DIP
Lenders establish the DIP Facility pursuant to which the Debtors may obtain loans from time to
time (the “DIP Loans”, and collectively with all other debts, obligations, liabilities and indemnities
of the Debtors under the DIP Loan Documents, the “DIP Obligations”), all in accordance with and
subject to the terms of the DIP Loan Documents, with all DIP Obligations being secured by all
real and personai property of the Debtors, wherever located and whether created, acquired or
arising prior to, on or after the Petition Date. The DIP Lenders are willing to establish the DIP
Facility upon the terms and conditions set forth herein and in the DIP Loan Agreement,
substantially in the form attached to the Motion, and the other DIP Loan Documents.

c. No Credit Available on More Favorable Terms. Despite diligent

efforts, the Debtors have been unable to obtain financing on more favorable terms from sources

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other than DIP Lenders under the DIP Loan Documents and are unable to obtain adequate
unsecured credit allowable under Section 503(b)(1) of the Bankruptcy Code as an administrative
expense. The Debtors are also unable to obtain secured credit allowable under Sections 364(c)(1),
364(c)(2) and 364(c)(3) of the Bankruptcy Code without granting priming liens under Section
364(d)(1) of the Bankruptcy Code and the Superpriority Claims (as defined in Paragraph 10 below)
under the terms and conditions set forth in this Interim Order and in the DIP Loan Documents.

d. Budget. The Debtors have prepared and annexed to this Interim
Order as Exhibit 1 hereto a budget (as at any time amended or supplemented with the written
consent of the DIP Lenders, the “Budget’”) which sets forth, among other things, the projected cash
receipts and disbursements for the periods covered thereby and which the Debtors believe in good
faith to be realistic and achievable. The DIP Lenders are relying upon the Budget in entering into
the DIP Loan Agreement and Pre-Petition Credit Parties are relying upon the Budget in consenting
to the terms of this Interim Order. The Debtors shall provide the DIP Lenders with an updated 13-
week Budget commencing on the first Wednesday following the end of the fourth (4th) Loan Week
(as defined in the DIP Loan Agreement), and on each Wednesday thereafter, which shall be subject
to the approval requirements in the DIP Loan Documents. Commencing on the first Wednesday
following the end of the fourth (4th) Loan Week and continuing on each Wednesday thereafter,
the Debtors shall deliver to the DIP Lenders (i) a comparison of actual to budgeted results of
operations for the preceding four (4) Loan Weeks, and (ii) a report of all income and expense
variance on a line-item basis for the preceding four (4) Loan Weeks. AI references restricting the
use of Cash Collateral and DIP Loan proceeds to payment of amounts set forth in the Budget shall
mean the most recent approved Budget, subject to the “Permitted Variance” and “Permitted

Variance Exception” (each as defined in the DIP Loan Documents).

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€. Certain Conditions to DIP Facility. The DIP Lenders’ willingness
to make DIP Loans pursuant to the DIP Loan Documents, and the Pre-Petition Credit Parties’
willingness to alow Debtors to use Cash Collateral, is conditioned upon, among other things,
(i) the Debtors’ obtaining Court approval of the DIP Loan Agreement and all DIP Obligations of
the Debtors and ail rights and remedies of DIP Credit Parties thereunder; (11) the Debtors’ provision
of adequate protection for Pre-Petition Credit Parties’ interests in the Pre-Petition Collateral
pursuant to Sections 361 and 363(e) of the Bankruptcy Code: and (iii) each DIP Lender receiving,
as security for the prompt payment of all DIP Obligations, a security interest in and lien upen all
of each Debtor’s pre-petition and post-petition real and personal property, including, without
limitation, all of each Debtor’s cash, accounts, inventory, equipment, fixtures, general intangibles,
documents, instruments, chattel paper, deposit accounts, letter-of-credit rights, commercial tort
claims, investment property, intellectual property, real property and leasehold interests (to the
extent subject to valid and enforceable prepetition liens, mortgages, or deeds of trust that have
been approved in writing by applicable landlords or expressly permitted by the terms of applicable
leases), the proceeds of leased real property (to the extent not subject to valid and enforceable
prepetition liens, mortgages, or deeds of trust that have been approved in writing by applicable
landlords or expressly permitted by the terms of applicable leases), contract rights, and books and
records relating to any assets of such Debtor and all proceeds (including, without limitation,
insurance proceeds) of the foregoing, whether such assets were in existence on the Petition Date
or were thereafter created, acquired or arising and wherever located (all such real and personal
property, including, without limitation, all Pre-Petition Collateral and the proceeds thereof, being
collectively hereinafter referred to as the “DIP Collateral”), and (iii) that such security interests

and liens have the priorities hereinafter set forth. Notwithstanding the foregoing, the DIP

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Collateral shall not include (i) the Debtors’ real property leases to the extent not subject to valid
and enforceable prepetition liens, mortgages, or deeds of trust that have been approved in writing
by applicable landlords or expressly permitted by the terms of applicable leases (but shall include
the proceeds of such leases) and (ii) pending entry of the Final Order, the DIP Collateral shail not
include a lien upon and security interest in any of Debtors’ claims and causes of action pursuant
to Sections 502(d), 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code (“Avoidance
Claims”) or any proceeds or other property (“Avoidance Proceeds”) recovered in connection with
the successful prosecution, settlement or collection of any Avoidance Claims.

f. Interim Hearing. Pursuant to Bankruptcy Rules 4001(b)(2) and
(c)(2) and Local Bankruptey Rule 4001-2, the Court has held the Interim Hearing and hereby
authorizes Debtors to use Cash Collateral and obtain DIP Loans during the period from the date
of entry of this Order through the date on which the final hearing on the Motion pursuant to
Bankruptcy Rules 4001(b}(2) and (c}(2) scheduled pursuant to Paragraph 32 of this Interim Order
is concluded (the “Interim Period”), for purposes specified in the initial Budget.

g. Finding ef Good Faith. Based upon the record presented at the
Interim Hearing, the DIP Facility and the Debtors’ use of Cash Collateral were negotiated in good
faith and at arm’s-length between the Debtors, on the one hand, and the DIP Lenders and Pre-
Petition Credit Parties, on the other. All of the DIP Obligations including, without limitation, all
DIP Loans made pursuant to the DIP Loan Agreement and all other liabilities and obligations of
any Debtors under this Interim Order owing to the DIP Lenders and the Pre-Petition Credit Parties,
as applicable, including the Debtors’ use of Cash Collateral, shall be deemed to have been extended
by the DIP Lenders and the Pre-Petition Credit Parties in “good faith,” as such term is used in

Section 364(e) of the Bankruptcy Code, and in express reliance upon the protections offered by

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Section 364(e) of the Bankruptcy Code. The DIP Lenders and the Pre-Petition Credit Parties shall
be entitled to the full protection of Section 364(e) of the Bankruptcy Code in the event that this
Interim Order or any provision hereof is vacated, reversed or modified, on appeal_pr-etherwise-

h. Immediate Entry. The Debtors have requested immediate entry of
this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the Local
Bankruptcy Rules. Absent granting the interim relief sought by the Motion, each Debtor’s estate
will be immediately and irreparably harmed pending the Final Hearing. The Debtors’
consummation of the DIP Facility in accordance with the terms of this Interim Order and the DIP
Loan Agreement and each Debtor’s immediate access to Cash Collateral is in the best interest of
each Debtor’s estate and is consistent with each Debtor’s exercise of its fiduciary duties. Under
the circumstances, the notice given by the Debtors of the Motion and the Interim Hearing
constitutes due and sufficient notice thereof and complies with Bankruptcy Rules 4001(b) and (c)
and the Local Rules. No further notice of the relief sought at the Interim Hearing is necessary or
required,

7. Authorization of Interim Financing; Use of Proceeds.

a. The Court hereby authorizes and approves the Debtors’ execution
and delivery of the DIP Loan Agreement in substantially the form annexed to the Motion (with
such changes, if any, as were made prior to or as a result of the Interim Hearing or are otherwise
authorized to be made as amendments to the DIP Loan Agreement in accordance with this Interim
Order) and all DIP Loan Documents.

b. The Debtors are hereby authorized to borrow money pursuant
to the DIP Loan Documents, on the terms and subject to the conditions, lending formulae and

sub-limits set forth in any DIP Loan Document and this Interim Order, up to an aggregate

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outstanding principal amount at any time not exceeding the sum of $13,500,000, plus applicable
interest, protective advances, expenses, fees and other charges payable in connection with such |
DIP Loans, and to incur any and all liabilities and obligations under the DIP Loan Documents and
to pay all principal, interest, fees, expenses and other obligations provided for under the DIP Loan
Documents (including any obligations, to the extent provided for in the DIP Loan Documents, to
indemnify the DIP Lenders).

Cc, No DIP Lender shall have any obligation or responsibility to
monitor any Debtor’s use of the DIP Loans, and each DIP Lender may rely upon each Debtor’s
representations that the amount of DIP Loans requested at any time, and the use thereof, are in
accordance with the requirements of this Interim Order, the DIP Loan Documents, and Bankruptcy
Rule 4001(c)(2).

d. No proceeds of any DIP Loan shall be used to (i) make any payment
in settlement or satisfaction of any pre-petition claim (excluding the Pre-Petition Debt) or
administrative claim (excluding the DIP Obligations), unless such payment is in compliance with
the Budget, permitted under the DIP Loan Documents, and separately approved by the Court upon
notice to, and no formal objection having been timely filed with the Court by, the DIP Lenders;
(ii) except as expressly provided or permitted hereunder, to make any distributions not in
compiiance with the Budget, or as otherwise approved by the DIP Lenders, including without
limitation, to make any payment or distribution to any non-Debtor affiliate, equity holder, or
insider of any Debtor; or (iii) to make any payment otherwise prohibited by this Interim Order,

8. Execution, Delivery and Performance of DIP Loan Documents. The DIP
Loan Documents may be executed and delivered on behalf of each Debtor by any officer, director,

or agent of such Debtor, who by signing shall be deemed to represent himself or herself to be duly

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authorized and empowered to execute the DIP Loan Documents for and on behalf of such Debtor.
The DIP Lenders shall be authorized to rely upon any such person’s execution and delivery any of
the DIP Loan Documents as having been done with all requisite power and authority so to do, and
the execution and delivery of any of the DIP Loan Documents or amendments thereto by any such
person on behalf of such Debtor shall be conclusively presumed to have been duly authorized by
all necessary corporate, limited liability company, or other entity action (as applicable) of such
Debtor. Upon execution and delivery thereof, each of the DIP Loan Documents shall constitute
valid and binding obligations of each Debtor, enforceable against each Debtor in accordance with
their terms for all purposes during its Chapter 11 Case, any subsequently converted case of such
Debtor under Chapter 7 of the Bankruptcy Code (each, a “Successor Case’’), and after the
dismissal of its Chapter 11 Case with respect to those provisions of the DIP Loan Documents
which expressly survive the Termination Date and any such dismissal. Subject to Paragraph 26 of
this Interim Order, no obligation, payment, transfer or grant of security under the DIP Loan
Documents or this Interim Order shall be stayed, restrained, voidable, avoidable or recoverable
under the Bankruptcy Code or under any applicable non-bankruptcy law (including, without
limitation, under Sections 502(d), 544, 548 or 549 of the Bankruptcy Code or under any applicable
state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or
common law), or subject to any defense, reduction, setoff, recoupment or counterclaim. In
furtherance of the provisions of Paragraph 7 of this Interim Order, each Debtor is authorized to do
and perform all acts; to make, execute and deliver all instruments and documents (including,
without limitation, security agreements, pledge agreements, mortgages, deeds of trust, deeds to
secure debt, financing statements, amendments, waivers, consents, other modifications, and

intellectual property filings); and to pay all reasonable fees, costs and expenses in each case as

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may be necessary or, in the opinion of either DIP Lender, desirable to give effect to any of the
terms and conditions of the DIP Loan Documents, to validate the perfection of the DIP Liens (as
defined below), or as may otherwise be required or contemplated by the DIP Loan Documents.

9. DIP Liens. As security for Debtors’ payment and performance of ali DIP
Obligations, each DIP Lender shall have and is hereby granted valid, binding, enforceable, non-
avoidable and automatically and properly perfected security interests in and liens upon all of the
DIP Collateral, subject to the provisions in Paragraph 9(d) (collectively, the “DIP Liens”) and in
the priorities set forth herein. Subject to the provisions of Paragraph 26 hereof and the Carve-Out
and any break-up fees and expense reimbursement obligations of the Debtors approved by the
Court with respect to the APA (as defined in the DIP Loan Agreement),° the DIP Liens shall be:

a. Unencumbered Property. Pursuant to Section 364(c)(2) of the

 

Bankruptcy Code, valid, binding, continuing, enforceable, fuliy perfected, first priority senior liens
on, and security interests in, all DIP Collateral that is not otherwise subject to valid, perfected,
enforceable and unavoidable liens on the Petition Date, or to any valid, perfected and unavoidable
interests in such property arising out of liens arising subsequent to the Petition Date as permitted
by section 546(b) of the Bankruptcy Code.

b. Liens Junior to Certain Other Liens. Pursuant to Section 364(c)(3)

 

of the Bankruptcy Code, junior only to valid, binding, perfected and unavoidable interests of any
other parties arising out of liens, if any, on such property existing immediately prior to the Petition

Date that were senior in priority to the liens of the Pre-Petition Credit Parties, or to any valid,

 

5 Notwithstanding anything to the contrary in this Interim Order, nothing in this Interim Order or the DIP Loan
Documents should be construed as awarding an administrative expense or superpriority administrative expense status
to any break-up fee or expense reimbursement relating to the APA. Any bid protections will be addressed by separate
motion and order.

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perfected and unavoidable interests in such property arising out of liens arising subsequent to the
Petition Date as permitted by section 546(b) of the Bankruptcy Code that are senior in priority to
the liens of the Pre-Petition Credit Parties.

c. Priming DIP Liens. Pursuant to Section 364(d)(1) of the
Bankruptcy Code, valid, binding, continuing, enforceable, fully perfected security interests in and
liens upon the DIP Collateral, which security interests and liens shall be prior and senior in all
respects to (1) the security interests and liens in favor of Pre-Petition Credit Parties with respect to
the Pre-Petition Collateral, and (ii) the Adequate Protection Liens (as defined below) with respect
to the Pre-Petition Collateral.

d. Liens Senior to Certain Other Liens. The DIP Liens and the
Adequate Protection Liens, aside from the Carve-Out and unless the Adequate Protection Liens
are successfully challenged pursuant to Paragraph 26 below, shall not be (1) subject or subordinate
to (A) any lien or security interest that is avoided and preserved for the benefit of any Debtor or
its estate under Section 551 of the Bankruptcy Code, (B) any liens or security interests granted by
any Debtor to other persons or entities after the Petition Date, or (C) any intercompany or affiliate
liens or security interests of the Debtors; (11) subordinated to or made pari passu with any other
lien or security interest under Section 363 or 364 of the Bankruptcy Code or otherwise; or (iii)
subject to Sections 510, 549 or 550 of the Bankruptcy Code. In no event shall any person or entity
who pays (or, through the extension of credit to any Debtor, causes to be paid} any of the DIP
Obligations or the obligations and indebtedness of the Pre-Petition Credit Parties, be subrogated,
in whole or in part, to any rights, remedies, claims, privileges, liens or security interests granted to

or in favor of, or conferred upon, any DIP Lender by the terms of any DIP Loan Documents or this

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Interim Order unless such person or entity contemporaneously causes Full Payment of the Pre-
Petition Debt owed to such DIP Lender to be made.®
10. Superpriority Claims. All DIP Obligations shall constitute joint and several
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allowed superpriority claims (the superiority tty Claims”) against each Debtor (without the need to
file any proof of claim) pursuant to Section 364(c)(1) of the Bankruptcy Code having priority in
right of payment over all other obligations, liabilities and indebtedness of each Debtor, whether
now in existence or hereafter incurred by any Debtor, and over any and all administrative expenses

of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all

administrative expenses or other claims arising under Sections 105, 326, 328, 330, 331, 503(a),

503(b}, 506(c) (subject to entry of the Final Order approving the grant), 507, 546(C), 552(b),726, “the Ler)
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1113, or 1114 of the Bankruptcy Code. Such Superpriority Clams shall for purposes of Section
1129(a)(9)(A) of the Bankruptcy Code be considered administrative expenses allowed under
Section 503(b) of the Bankruptcy Code and shall be payable from all pre-petition and post-petition
property of Debtors and all proceeds thereof; provided, however, that the Superpriority Claims
shall be subject to the Carve-Out (as defined below) and any break-up fees and expense
reimbursement obligations of the Debtors approved by the Court with respect to the APA (as
defined in the DIP Loan Agreement); and provided, however, that to the extent the Superpriority
Claims are payable out of Avoidance Claims and Avoidance Proceeds, such payment shall be

subject to entry of the Final Order.

 

© As used herein, the term “Full Payment,” as applied to DIP Obligations or Pre-Petition Debt, shall mean full and
final payment of such indebtedness in cash, the cash collateralization of any contingent obligations as and to the extent
required by the applicable loan documents, termination of any commitments to lend under any of the applicable loan
documents, expiration of the Challenge Deadline (as defined below) without a challenge having been timely asserted,
and, in the case of the DIP Obligations, termimation of the DIP Facility.

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lt. Repayment. The DIP Obligations shall be due and payable, and shall be
paid, as and when provided in the DIP Loan Documents and as provided herein, without offset or
counterclaim. Without limiting the generality of the foregoing, in no event shall any Debtor be
authorized to offset or recoup any amounts owed, or allegedly owed, by any Pre-Petition Credit
Party or any DIP Lender to any Debtor or any of its respective subsidiaries or affiliates against any
of the DIP Obligations without the prior written consent of each Pre-Petition Credit Party or DIP
Lender that would be affected by any such offset or recoupment, and no such consent shall be
implied from any action, inaction or acquiescence by any Pre-Petition Credit Party or DIP Lender.

12. Use of Cash Coilateral. The Debtors are authorized, by this Interim Order,
subject to the terms and conditions of the DIP Loan Documents and the Interim Order, to use all
Cash Collateral, including, without limitation, any Cash Collateral on which the Pre-Petition Credit
Parties hold a lien, to fund any post-petition cost or expense incurred by the Debtors to the same
extent that the use of DIP Loan proceeds would be permitted to fund such cost or expense under
the terms of the DIP Loan Agreement and subject to the Budget; provided, however, that no Cash
Collateral shall be used in a manner that would be a Prohibited Purpose (as defined herein). The
Debtors’ right to use Cash Collateral, other than the Carve-Out, shall terminate automatically on
the Termination Date as defined in the DIP Loan Agreement. Notwithstanding the foregoing, the
Debtors’ right to use Cash Collateral shall immediately terminate without notice from the DIP
Lenders or the Pre-Petition Credit Parties at the time that any Debtor has actual knowledge of the
existence of an Event of Default if the Debtors fail to promptly notify the DIP Lenders and the
Pre-Petition Credit Parties of such Event of Default. Prior to the Termination Date, the Debtors
and the DIP Lenders and/or Pre-Petition Credit Parties shall negotiate in good faith regarding the

terms of the Debtors’ continued use of Cash Collateral to wind-down the estates.

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13. Adequate Protection of Pre-Petition Credit Parties. As adequate protection
for any Collateral Diminution (as defined below) suffered by any Pre-Petition Credit Party, the
Pre-Petition Agent is entitled, pursuant to Sections 105, 361, 363(e) and 364 of the Bankruptcy
Code, to adequate protection of its interests in the Pre-Petition Collateral in an amount equal to the
Collateral Diminution (the “Adequate Protection Claims”). As used in this Interim Order,
- “Collateral Diminution” shall mean an amount equal (and limited) to the aggregate diminution of
the fair market value of any of the Pre-Petition Collateral (including Cash Collateral) from and
after the Petition Date for any reason provided for in the Bankruptey Code, including, without
limitation, any such diminution resulting from the Carve-Out, the use of Cash Collateral, the
priming of the Pre-Petition Agent’s security interests in and liens on the Pre-Petition Collateral by
the DIP Liens pursuant to the DIP Loan Decuments and this Interim Order, the depreciation, sale,
loss or use by any Debtor (or any other decline in value) of such Pre-Petition Collateral, the amount
of any fees and expenses paid to retained professionals in these Chapter 11 Cases, in accordance
with the Budget, and the imposition of the automatic stay pursuant to Section 362 of the
Bankruptcy Code. The Pre-Petition Agent is hereby granted, subject to the Carve-Out and the
rights of third parties preserved under Paragraph 26 and solely to the extent of any Collateral
Diminution, the following for the benefit of Pre-Petition Credit Parties:

a. Adequate Protection Liens. The Pre-Petition Agent, for the benefit
of the Pre-Petition Credit Parties, is hereby granted (effective and perfected upon the date of this
Interim Order and without the necessity of the execution by any Debtor of security agreements,
pledge agreements, mortgages, financing statements or other agreements) valid, perfected
replacement security interests in and liens on all of the DIP Collateral (the “Adequate Protection

Liens”). The Adequate Protection Liens on DIP Collateral shall be junior and subordinate only to

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the DIP Liens, the Carve-Out, and any break-up fees and expense reimbursement obligations of
the Debtors approved by the Court with respect to the APA (as defined in the DIP Loan
Agreement). The Adequate Protection Liens shall not be subject to Sections 506(c) (effective
upon entry of the Final Order), 510, 549, or 550 of the Bankruptcy Code, and unless otherwise
ordered by the Court, no lien avoided and preserved for the benefit of any estate pursuant to Section
510 of the Bankruptcy Code shall be made pari passu with or senior to any Adequate Protection
Liens.

b, Priority of Adequate Protection Claims. The Adequate Protection
Claims, if any, will be allowed as superpriority administrative claims pursuant to Sections 503(b)
and 507(b) of the Bankruptcy Code, which, subject to the Superpriority Claims, the Carve-Out,
and any break-up fees and expense reimbursement obligations of the Debtors approved by the
Court with respect to the APA (as defined in the DIP Loan Agreement), shall have priority in
payment over any and all administrative expenses of the kinds specified or ordered pursuant to any
provision of the Bankruptcy Code, including, without limitation, Sections 105, 326, 328, 330, 331,
503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b), 546, 726, 1113 or 1114 of the
Bankruptcy Code, which shall at all times be senior to the rights of each Debtor, and any successor
trustee or any creditor in these Chapter 11 Cases or any subsequent proceedings under the
Bankruptcy Code, provided, however, that the Adequate Protection Claims entitled to superpriority
administrative status shall only be payable out of Avoidance Claims and Avoidance Proceeds
subject to entry of the Final Order.

c. Fees and Expenses of Professionals for Pre-Petition Credit Parties.
As additional adequate protection, the Debtors shall pay (i) the reasonable and documented

professional fees and expenses (including, but not limited to, the fees and disbursements of

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counsel, third-party consultants, financial advisors, and auditors) payable to or incurred by any
Pre-Petition Credit Party under and pursuant to the Pre-Petition Loan Documents arising prior to
the Petition Date, and (11) on a current basis, the reasonable and documented professional fees and
expenses (including, but not limited to, the fees and disbursements of counsel, third-party
consultants, including financial consultants, and auditors) payable to or incurred by any Pre-
Petition Credit Party under and pursuant to the Pre-Petition Loan Documents arising on or
subsequent to the Petition Date, in each case in compliance with the Budget. At the option of the
Pre-Petition Credit Parties, all such amounts may be added to the Pre-Petition Debt in lieu of
current payment thereof by the Debtors. Notwithstanding the foregoing, no payments shall be
made by the Debtors on account of any professional fees and expenses of a Pre-Petition Credit
Party until each relevant professional has provided copies of its fee and expense statements to the
U.S. Trustee and counsel to any official committee appointed in the Debtors’ case (the
“Committee”) reasonably contemporaneously with the delivery of such fee and expense statements
to the Debtors. Such statements need not be submitted in the form of a fee application, but shall
contain reasonable detail as to the number of hours worked and applicable hourly rates, but may
be redacted to the extent necessary to delete any information subject to attorney-client privilege,
any information constituting attorney work product or any other confidential information, and the
provision of such invoices shall not constitute any watver of the attorney-client privilege or any
benefits of the attorney work product doctrine. The U.S. Trustee, any Committee or any other
party in interest may object to the reasonableness of the fees, costs and expenses included in any
professional fee invoice submitted hereunder, provided that, any such objection shall be forever
waived and barred unless (i) it is filed with this Court and served on counsel to the parties seeking

reimbursement no later than ten (10) days after the objecting parties receive such applicable

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professional fee invoice, and (ii) it describes with particularity the items and categories of fees,
costs and expenses that are subject to the objection and it provides for a specific basis for the
objection to each such item of category of fees, costs and expenses; provided, however, that the
Debtors shall pay all amounts that are not subject of any objection within ten (10) days of the
objection deadline. Any hearing on an objection to any payment of any fees, costs and expenses
of such professionals shall be limited to the particular items or categories of fees, costs, and
expenses which are the subject to such objection. Notwithstanding the foregoing, immediately
upon entry of this Interim Order, the Debtors are authorized to pay all reasonable and documented
fees, costs and out-of-pocket expenses of the DIP Lenders and the Pre-Petition Credit Parties
incurred on or prior to the date of entry hereof.

d. ——- Reservation of Rights. Nothing herein shall be deemed to be a
waiver by any Pre-Petition Credit Party of its right to request additional or further protection of its
interests in any Pre-Petition Collateral, to move for relief from the automatic stay, to seek the
appointment of a trustee or examiner for any Debtor or the conversion or dismissal of any of these
Chapter 11 Cases, or to request any other relief in these cases; nor shali anything herein or in any
of the DIP Loan Documents constitute an admission by a Pre-Petition Credit Party regarding the
quantity, quality or value of any DIP Collateral securing the Pre-Petition Debt or constitute a
finding of adequate protection with respect to the interests of Pre-Petition Agent in any DIP
Collateral. Pre-Petition Credit Parties shall be deemed to have reserved all rights to assert
entitlement to the protections and benefits of Section 507(b) of the Bankruptcy Code in connection
with any use, sale, encumbering or other disposition of any of the DiP Collateral, to the extent that
the protection afforded by this Interim Order to Pre-Petition Agent’s interests in any DIP Collateral

proves to be inadequate.

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14. Payments Free and Clear, Any and ail payments or proceeds remitted (a)
to the DIP Lenders or (b) subject only to the potential challenges by third-parties as permitted but
limited by Paragraph 26 below, to Pre-Petition Agent on behalf of any Pre-Petition Credit Party,
in each case pursuant to the provisions of this Interim Order or any subsequent order of this Court,
shall be received free and clear of any claim, charge, assessment or other liability, including,
without limitation, any such claim or charge arising out of or based on, directly or indirectly,
Sections 506(c) (subject to entry of the Final Order approving the grant) or the “equities of the
case” exception of 552(b) of the Bankruptcy Code (subject to entry of the Final Order).

15. Fees and Expenses of Estate Professionals. Subject to the terms of the
DIP Loan Agreement and the Budget, for so long as no Event of Default has occurred, each Debtor
is authorized to use DIP Loans to pay such compensation and expense reimbursement
(collectively, “Professional Fees”) of professional persons (including attorneys, financial advisors,
accountants, investment bankers, claims and/or noticing agents, appraisers, and consultants)
retained by any Debtor with Court approval or as an ordinary course professional (the “Debtors
Professionals”) or the Committee with Court approval (the “Committee Professionals,”
coliectively with the Debtors Professionals, the “Professionals”’), to the extent that such
compensation and expense reimbursement is allowed and approved by the Court, other than with
respect to ordinary course professionals of the Debtors (including through any interim
compensation procedures approved by the Court); provided, however, that, notwithstanding
anything herein or in any other order of this Court to the contrary, no proceeds of any DIP Loans
or any Cash Collateral shall be used to pay Professional Fees incurred for any Prohibited Purpose

(as defined below).

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16. Section 506(c} Claims. Effective upon entry of the Final Order, no costs or
expenses of administration shail be imposed upon any DIP Lender, any Pre-Petition Credit Party
or any of the DIP Collateral pursuant to Section 506{c) of the Bankruptcy Code or otherwise
without the prior written consent of such DIP Lender or Pre-Petition Credit Party, and no such
consent shall be implied from any action, inaction or acquiescence by any DIP Lender or Pre-
Petition Credit Party, provided that the following administrative expenses are fully funded by the
Debtors consistent with the Budget: (a) the Carve-Out and (b) all expenses that are accrued and
unpaid through the date of an Event of Default under the line items in the Budget designated as
“Payroll Costs,” “Sales Taxes” and “PACA/PASA Claims.”

17.  Carve-Out. Notwithstanding anything in this Interim Order, any DIP Loan
Documents, any Pre-Petition Loan Documents, or any other order of this Court to the contrary, the
DIP Obligations, the DIP Liens and Superpriority Claims in favor of the DIP Lenders, the
Adequate Protection Liens in favor of the Pre-Petition Agent, the Adequate Protection Claims in |
favor of the Pre-Petition Credit Parties, and the Pre-Petition Debt and the Pre-Petition Security
Interests in favor of the Pre-Petition Credit Parties shall be subject and subordinate in all respects
to the payment of the following Carve-Out. As used in this Interim Order, the “Carve-Out” means
the sum of (a) all fees required to be paid pursuant to 28 U.S.C. § 1930(a)(6) and any fees payable
to the Clerk of the Bankruptcy Court, (b) all of the reasonable fees and expenses from time to time
incurred by each Professional retained by the Debtors and the Committee (amounts set forth in the
Budget are specific to each Professional and may be rolled over to subsequent weeks), including
any fees earned by PJ Solomon Securities, LLC (“PJS”) as investment banker for the Debtors that
are approved by this Court, that are (i) incurred prior to the date of delivery of a Default Notice (as

defined below) (except in the case of any fees earned by PJS, which shall be included in the Carve-

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Out whenever incurred), and (ii) included in an approved Budget (except in the case of any fees
earned by PJS, which shall be included in the Carve-Out in the amount approved by this Court),
and (c) a maximum of $250,000 for all of the reasonable fees and expenses from time to time
incurred by Professionals retained by Borrower (other than PJS, which is addressed above) that
are incurred from and after the date of delivery of a Default Notice; provided, that nothing in this
Interim Order shall be construed to impair the ability of any party to object to the fees, expenses,
reimbursements or compensation of any Professional, whether or not in excess of the coverage
provided by the Carve-Out. In no event shall the Carve-Out, er the funding of the DIP Loans to
satisfy the Carve-Out, result in any reduction in the amount of the DIP. Obligations of the Pre
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Petition Debt. Prior to the date of delivery of a Default Notice,* -(A) an amount aie to pay
the Carve-Out for Professional Fees may be funded by the Debtors on a weekly basis into a trust
account held by Debtors’ counsel (the “Professional Fee Trust Account”) in accordance with the
approved Budget, (B) the Debtors shail be permitted to borrow under the DIP Loan Agreement to
fund the Professional Fee Trust Account in the amounts contemplated under clause (b) above, and
(C) the Debtors shall be permitted to pay, from the Professional Fee Trust Account, as and when
the same may become due and payable, the allowed Professional Fees of each Professional.
Following the date of delivery of a Default Notice, the Debtors shall be permitted to fund the
Professional Fee Trust Account in the amount of $250,000 contemplated under clause (c) above.
All amounts funded by the Debtors to the Professional Fee Trust Account shall continue to
constitute DIP Collateral, Any excess amounts remaining in the Professional Fee Trust Account

after payment of the Carve-Out for Professionals shall be refunded to the Debtors and shall remain

DIP Collateral.

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18. Excluded Professional Fees. Notwithstanding anything to the contrary in
this Interim Order, neither the Carve-Out, nor the proceeds of the DIP Facility in any respect,
including without limitation any DIP Loans, Cash Collateral or DIP Collateral, shall be used to
pay any Professional Fees or any other fees or expenses incurred by any Professional in connection
with any of the following (each a “Prohibited Purpose”): (a) objecting to or contesting the
validity or enforceability of this Interim Order, any DIP Obligations or Pre-Petition Debt,
provided that the Committee may spend up to $25,000 (the “Investigation Budget”) for the fees
and expenses incurred in connection with the investigation of, but not the litigation, objection or
any challenge to, any Pre-Petition Security Interest, Pre-Petition Debt, or Pre-Petition Loan
Documents; (b) asserting or prosecuting any claim or cause of action against any DIP Lender or
any Pre-Petition Credit Party, other than to enforce the terms of the DIP Facility or this Interim
Order; (c} seeking to modify any of the rights granted under this Interim Order to any DIP Lender
or any Pre-Petition Credit Party; or (d) objecting to, contesting, delaying, preventing or interfering
in any way with the exercise of rights and remedies by any DIP Lender or Pre-Petition Credit Party
with respect to any DIP Collateral or Pre-Petition Collateral after the occurrence and during the

ae Committee,
continuance of an Event of Default, provided that the Debtors may contest or dispute whether an

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Event of Default has occurred and shall be entitled to any notice provisions provided in this Interim
Order.
19, Preservation of Rights Granted Under This Interim Order.
a. Protection from Subsequent Financing Order. There shall not be
entered in any of these Chapter 11 Cases or in any Successor Case any order that authorizes the

obtaining of credit or the incurrence of indebtedness by any Debtor (or any trustee or examiner)

that is () secured by a security interest, mortgage or collateral interest or lien on all or any part of

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the DIP Collateral that is equal or senior to the DIP Liens or (ii) entitled to priority administrative
status that is equal or senior to the Superpriority Claims granted to DIP Lenders herein; provided,
however, that nothing herein shall prevent the entry of an order that specifically provides for, as a
condition to the granting of the benefits of clauses (i) or (ii) above, the Full Payment of all of the
DIP Obligations, in the manner required by the DIP Loan Agreement, from the proceeds of such
credit or indebtedness, and the termination of any funding commitments under the DIP Facility.
b. Rights Upon Dismissal, Conversion or Consolidation, If any of the
Chapter 11 Cases are dismissed, converted or substantively consolidated with another case, then
neither the entry of this Interim Order nor the dismissal, conversion or substantive consolidation
of any of the Chapter 11 Cases shall affect the rights or remedies of any DIP Lender under the DIP
Loan Documents or the rights or remedies of any DIP Lender or Pre-Petition Credit Party under
this Interim Order, and all of the respective rights and remedies hereunder and thereunder of each
DIP Lender and each Pre-Petition Credit Party shall remain in full force and effect as if such
Chapter 11 Case had not been dismissed, converted, or substantively consolidated. Unless and
until Full Payment of all DIP Obligations and Adequate Protection Claims has occurred, it shall
constitute an Event of Default if any Debtor seeks, or if there is entered, any order dismissing any
of the Chapter i1 Cases. [fan order dismissing any of the Chapter 11 Cases is at any time entered,
such order shall provide (in accordance with Sections 105 and 349 of the Bankruptcy Code) that
(i) the Superpriority Claims, the Adequate Protection Claims, the DIP Liens and the Adequate
Protection Liens shall continue in full force and effect and shall maintain their priorities as
provided in this Interim Order until Full Payment of alf DIP Obligations and all Adequate
Protection Claims, (ii) such Superpriority Claims, Adequate Protection Claims, DIP Liens and

Adequate Protection Liens shall, notwithstanding such dismissal, remain binding on all parties in

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interest, (iii) the other rights granted by this Interim Order shall not be affected, including the rights
granted by Paragraph 26 of this Interim Order, and (iv) this Court shall retain jurisdiction,
notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security
interests referred to in this Paragraph and otherwise in this Interim Order.

c. Survival of Interim Order. The provisions of this Interim Order, and

 

any actions taken pursuant hereto, shall survive the entry of and shail govern with respect to any
conflict with any order that may be entered confirming any plan of reorganization or liquidation
in any of the Chapter 11 Cases or any Successor Case.

d. No Discharge. None of the DIP Obligations shall be discharged by
the entry of any order confirming a plan of reorganization or liquidation in any of these Chapter
11 Cases and, pursuant to Section 1141(d)(4) of the Bankruptcy Code, each Debtor has waived
such discharge.

e, Credit Bid Rights. Following entry of the Final Order and subject
to the requirements of section 363(k) of the Bankruptcy Code, but without prejudice to any
successful challenge brought prior to the Challenge Deadline, the DIP Lenders and the Pre-Petition
Credit Parties shall each have the right to credit bid, individually or on a combined basis, up to the
full amount of the applicable outstanding DIP Obligations and Pre-Petition Debt (as applicable),
in each case including any accrued interest or other agreed charges, in any sale of the DIP
Collateral (or any part thereof) or Pre-Petition Collateral (or any part thereof), as applicable,
without the need for further Court order authorizing same, and whether such sale is effectuated
through Section 363 or 1129 of the Bankruptcy Code, by a Chapter 7 trustee under Section 725 of
the Bankruptcy Code, or otherwise. For the avoidance of doubt, without prejudice to any

successful challenge brought prior to the Challenge Deadline, no plan of reorganization or

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liquidation, nor any motion in connection with a sale of any Debtor’s assets under Section 363 of
the Bankruptcy Code, in any of these Chapter 11 Cases shall seek to Hmit or otherwise restrict the
right of Pre-Petition Agent or the DIP Lenders to credit bid for all or any part of the Pre-Petition
Collateral or DIP Collateral.

f. No Marshaling. Subject to entry of the Final Order, in no event shall
any DIP Lender or Pre-Petition Credit Party be subject to the equitable doctrine of “marshaling”
or any similar doctrine with respect to any DIP Collateral, and in no event shall any DIP Liens be
subject to any pre-petition or post-petition lien or security interest that is avoided and preserved
for the benefit of any Debtor’s estate pursuant to Section 551 of the Bankruptcy Code.

g. No Requirement to File Claim for DIP Obligations or Pre-Petition
Debt. Notwithstanding anything to the contrary contained in any prior or subsequent order of the
Court, including, without limitation, any bar date order establishing a deadline for the filing of
proofs of claim entitled to administrative expense treatment under Section 503(b) of the
Bankruptcy Code, no DIP Lender shall be required to file any proof of claim with respect to any

of the DIP Obligations and no Pre-Petition Credit Party shall be required to file any proof of claim

 

with respect to any Pre-Petition Debt, a

 

offing any-such.proof of claim; and the failure to file any such proof of claim shall not affect the

validity or enforceability of any of the DIP Loan Documents or Pre-Petition Loan Documents, or

prejudice or otherwise adversely affect any rights, remedies, powers or privileges of any DIP
Lender under any of the DIP Loan Documents, any Pre~Petition Credit Party under any of the Pre-

Petition Loan Documents, or any DIP Lender or Pre-Petition Credit Party under this Interim Order.

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20. Automatic Perfection of Liens. The DIP Liens, and subject to the third party
challenge rights in Paragraph 26, the Adequate Protection Liens, shall be deemed valid, binding,
enforceable and duly perfected upon entry of this Interim Order. Neither any Pre-Petition Credit
Party nor any DIP Lender shall be required to file any UCC-1 financing statements, mortgages,
deeds of trust, security deeds, notices of lien or any similar document or. take any other action
(including taking possession of any of the DIP Collateral) in order to validate the perfection of any
DIP Liens or the Adequate Protection Liens, but all of such filings and other actions are hereby
authorized by the Court. The DIP Lenders shall be deemed to have “controi” over all deposit
accounts for all purposes of perfection under the Uniform Commercial Code. If the Pre-Petition
Agent or the DIP Lenders shall, in their discretion, choose to file or record any such mortgages,
deeds of trust, security deeds, notices of lien, or UCC-1 financing statements, or take any other
action to evidence the perfection of any part of the DIP Liens or the Adequate Protection Liens,
each Debtor and its respective officers are authorized to execute any documents or instruments as
the Pre-Petition Agent or DIP Lenders shall request, and all such documents and instruments shall
be deemed to have been filed or recorded at the time and on the date of entry of this Interim Order.
Any Pre-Petition Credit Party or DIP Lender may, in its discretion, file a certified copy of this
Interim Order in any filing office in any jurisdiction in which any Debtor Js prganized or has or

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maintains any DIP Collateral or an office, and each filing office is s directed to accept such certified

copy of this Interim Order for filing and recording. [ Any-provision-of any-tease (other than-any.

 

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21, Reimbursement of Expenses. All reasonable and documented costs and

 

expenses incurred by the DIP Lenders in connection with (a) the negotiation and drafting of any
DIP Loan Documents or any amendments thereto, (b) the preservation, perfection, protection
and enforcement of any DIP Lender’s rights hereunder or under any DIP Loan Decuments, (c)
the collection of any DIP Obligations, or (d) the monitoring of these Chapter 11 Cases, including,
without limitation, all filing and recording fees and reasonable fees and expenses of attorneys,
accountants, consultants, financial advisors, appraisers and other professionals incurred by a DIP
Lender in connection with any of the foregoing, whether any of the foregoing were incurred prior
to or after the Petition Date, shall form a part of the DIP Obligations owing to such DIP Lender
and shall be paid by Debtors (without the necessity of filing any application with or obtaining
further order from the Court) in accordance with the terms of the applicable DIP Loan Documents.
Notwithstanding the foregoing, no payments shall be made by the Debtors on account of any
professional fees and expenses of a DIP Lender until each relevant professional has provided
copies of its fee and expense statements to the U.S. Trustee and counsel to any Committee
reasonably contemporaneously with the delivery of such fee and expense statements to the Debtors
consistent with the procedures set forth in Paragraph 13(d) of this Interim Order.

22, Amendments to DIP Loan Documents. The Debtors and DIP Lenders are

 

hereby authorized to implement, in accordance with the terms of the applicable DIP Loan

Documents and without further order of the Court, any amendments to and modifications of any

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of such DIP Loan Documents on the following conditions: (a) the amendment or modification
must not constitute a material change to the terms of such DIP Loan Documents, (b) copies of the
amendment or modification must be served upon counsel for the Committee (and, prior to the
appointment of a Committee, upon the Debtors’ consolidated 30 largest unsecured creditors), the
U.S. Trustee, and other interested parties specifically requesting such notice, and (c) notice of the
amendment must be filed with the Court. Any amendment or modification that constitutes a
material change, to be effective, must be approved by the Court. For purposes hereof, a “material
change” shall mean a change to a DIP Loan Document that operates to shorten the DIP Facility
or the maturity ofthe DIP Obligations, to increase the aggregate amount of the commitments
of DIP Lenders under the DIP Facility, to increase the rate of interest other than as currently
provided in or contemplated by the DIP Loan Documents, to add specific Events of Default, or to
enlarge the nature and extent of remedies available to a DIP Lender following the occurrence of
an Event of Default. Without limiting the generality of the foregoing, any amendment of a DIP
Loan Document to postpone or extend any date or deadline therein (including, without limitation,
the expiration of the term of the DIP Facility) shall not constitute a “material change” and may be
effectuated by Debtors and the DIP Lenders without the need for further approval of the Court.
23. Events of Default; Remedies.

a. Events of Default. The occurrence of any “Event of Default” under
(and as defined in) the DIP Loan Agreement shall constitute an Event of Default under this Interim
Order.

b. Default Remedies. Upon the occurrence and continuance of an
Event of Default, and following the expiration of any applicable cure period set forth in the DIP

Loan Agreement, (a) the DIP Lenders may file with the Court and serve upon the Debtors, counsel

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for the Debtors, counsel for the Committee and the U.S. Trustee a written notice (a “Default |
Notice”) describing the Events of Default that exist, in which event effective five (5) business days
thereafter (the “Default Notice Period”), the DIP Lenders shall be fully authorized, in their sole
discretion, to demand payment of ali DIP Obligations, and hold and apply any balances in any
accounts of the Debtors to the payment or cash collateralization of any of the DIP Obligations,
subject to payment of the Carve-Out; and (b) each DIP Lender and the Pre-Petition Agent shall be
deemed to have received complete relief from the automatic stay imposed by Section 362(a) of the
Bankruptcy Code with respect to all of the DIP Collateral and Pre-Petition Collateral, respectively,
effective following the expiration of the Default Notice period, unless the Court determines
otherwise after an expedited hearing, Upon the effectiveness of any relief from the automatic stay
granted or deemed to have been granted and subject to payment of the Carve-Out, the DIP Lenders
and the Pre-Petition Agent may enforce their respective DIP Liens, the Pre-Petition Security
Interests, and the Adequate Protection Liens, as applicable, with respect to the DIP Collateral, take
all other actions and exercise all other remedies under the DIP Loan Documents, the Pre-Petition
Loan Documents and applicable law that may be necessary or deemed appropriate to collect any
of its DIP Obligations and/or the Pre-Petition Debt, proceed against or realize upon all or any
portion of the Collateral as if these Chapter 11 Cases or any superseding Chapter 7 case was not
pending, and otherwise enforce any of the provisions of this Interim Order. Notwithstanding
anything to the contrary herein, the DIP Lenders and the Pre-Petition Agent may only enter upon
a leased premises of the Debtors after an Event of Default in accordance with (i) a separate written
agreement among the DIP Lenders, the Pre-Petition Agent, and the applicable landlord for the
leased premises, (ii) pre-existing rights of the DIP Lenders or the Pre-Petition Agent under

applicable non-bankruptcy law, (iii) written consent of the applicable landlord for the leased

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premises, or (iv) entry of an order by this Court approving such access to the premises after notice
and an opportunity to be heard for the applicable landlord for the leased premises. Any delay or
failure to exercise rights and remedies by the DIP Lenders or Pre-Petition Agent under the DIP
Loan Documents or this Interim Order shall not constitute a waiver of such DIP Lender or Pre-
Petition Agent’s rights hereunder, thereunder or otherwise, unless any such waiver is pursuant to
a written instrument executed in accordance with the terms of the DIP Loan Agreement. In
furtherance of Paragraph 17 above, the DIP Lenders shall provide for cash payment of the Carve-
Out from the proceeds of the DIP Collateral before any sums are paid to the DIP Lenders from
such proceeds.

c. Rights Cumulative. The rights, remedies, powers and privileges
conferred upon DIP Credit Parties pursuant to this Interim Order shall be in addition to and
cumulative with those contained in the applicable DIP Loan Documents.

24. Loan Administration.

a. Continuation of Pre-Petition Procedures. All pre-petition cash
management practices and procedures of the Debtors, including any lockbox and/or blocked
depository bank account arrangements, to the extent approved by the Court by separate order, shall
continue without interruption after the commencement of the Chapter 11 Cases, and shall be
deemed effective for the benefit of the DIP Lender.

b. Inspection Rights. Representatives of each DIP Lender shall be
authorized, with-reasonable prior notice to Debtors, to visit the business premises of any Debtor
and its subsidiaries during regular business hours to (1) mspect any Collateral, (ii) inspect and make

copies of any books and records of any Debtor, and (iii) verify or obtain supporting details

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concerning the financial information to be provided by any Debtor hereunder or under any of the
DIP Loan Documents, and the Debtors shall facilitate the exercise of such inspection rights,

c, Dip Lenders’ Right to Retain Professionals. Each DIP Lender shall
be authorized to retain attorneys, appraisers, consultants, auditors, field examiners and financial
advisors, at Debtors’ expense, which attorneys, appraisers, consultants, auditors, field
examiners and financial advisors shall be afforded reasonable access to the Collateral and
each Debtor’s business premises and records, during normal business hours, for purposes of
monitoring the businesses of Debtors, verifying each Debtor’s compliance with the terms of the
DIP Loan Documents and this Interim Order, and analyzing or appraising all or any part of the
Collateral. Al such amounts payable to or incurred under this clause (c) shall be payable in
accordance with Paragraph 21 above.

25. Modification of Automatic Stay. The automatic stay provisions of Section
362 of the Bankruptcy Code are hereby modified and lifted to the extent necessary to implement
the provisions of this Interim Order and the DIP Loan Documents, thereby permitting the DIP
Lenders and Pre-Petition Agent to receive collections and proceeds of Collateral for application to
the DIP Obligations and the Pre-Petition Debt as and to the extent provided herein, to file or record
any UCC-1 financing statements, mortgages, deeds of trust, security deeds and other instruments
and documents evidencing or validating the perfection of the DIP Liens or Adequate Protection
Liens, and to enforce the DIP Liens and Adequate Protection Liens as and to the extent authorized
by this Interim Order.
26. Effect of Stipulations on Third Parties; Deadline for Challenges,
a. Each Debtor’s admissions, stipulations, agreements and releases

contained in this Interim Order, including, without limitation, those contained in Paragraph 5 of

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this Interim Order, shall be binding upon such Debtor and any successor thereto (including,
without limitation any Chapter 7 trustee or Chapter 11 trustee or examiner appointed or elected for
such Debtor) under all circumstances and for all purposes, provided that if a trustee or examiner
is appointed prior to the Challenge Deadline (as defined below), he or she shall not be bound by
the admissions, stipulations, agreements and releases herein until the later of fourteen (14) days
after appointment or expiration of the Challenge Deadline (subject to extension by the Court).

b. Each Debtor’s admissions, stipulations, agreements and releases
contained in this Interim Order, including, without limitation, those contained in Paragraph 5 of
this Interim Order, shall be binding upon all other parties in interest (including, without limitation,
any Committee) under all circumstances and for all purposes unless (i) the Committee or another
party in interest (subject in all respects to any agreement or applicable law that may limit or affect
such entity's right or ability to do so) having requisite standing has timely and-preperby filed an
adversary proceeding or contested matter by no later than the Challenge Deadline (A) objecting to
or challenging the amount, validity, perfection, enforceability priority or extent of the Pre-Petition
Debt or any Pre-Petition Credit Party’s Liens, or (B) otherwise asserting any defenses, claims,
causes of action, counterclaims or offsets against any Pre-Petition Credit Party or its respective
agents, affiliates, subsidiaries, directors, officers, representatives, attorneys or advisors, and (ii)
the Court rules in favor of the plaintiff in any such timely and properly filed adversary proceeding
or contested matter. As used herein, the term “Challenge Deadline” means the date that is the later
of (i) in the case of a party in interest with requisite standing other than the Committee, seventy-

five (75) days after entry of this Interim Order, (ii) in the case of any Committee, sixty (60) days

 

after the filing of notice of appointment of a Committee-fat

(iii} any such later date agreed to in writing by the Pre-Petition Credit Parties, in their sole

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discretion, and (iv) any such later date ordered by the Court for the cause shown after notice and
an opportunity to be heard, provided that such order is entered before the expiration of any
applicable period as set forth in clauses (i) through (iti) of this sentence.

C. If no adversary proceeding or contested matter is timely «md
preperty filed as of the applicable Challenge Deadline against a Pre-Petition Credit Party or the
Court does not rule in favor of the plaintiff in any such proceeding, then in these Chapter 11 Cases
and in any Successor Case each Debtor’s admissions, stipulations, agreements and releases
contained in this Interrm Order, including, without limitation, those contained in Paragraph 5 of
this Interim Order, shall be binding on all parties in interest. If any such adversary proceeding or
contested matter is preperhs filed by the applicable Challenge Deadline, each Debtor’s admissions,
stipulations, agreements and releases contained in this Interim Order, including, without limitation,
those contained in Paragraph 5 of this Interim Order, shall nonetheless remain binding and
preclusive on such party, except to the extent that such admissions, stipulations, agreements and
releases were expressly challenged in such adversary proceeding or contested matter and the party
bringing such challenge prevails on the merits. Nothing contained in this Interim Order shail vest
or confer any person or entity, including any Committee, standing or authority to pursue or
commence any such adversary proceeding or contested matter.

d. Notwithstanding anything else contained in this Interim Order, if an
adversary proceeding or contested matter is timely and—preperty filed as of the applicable
Challenge Deadline against a Pre-Petition Credit Party, the entity prosecuting that timely adversary
proceeding or motion can, if successful, challenge the adequate protection provided with respect
to any lien avoided and payments made to any Pre-Petition Credit Party and all of the provisions

regarding Adequate Protection Claims and Adequate Protection Liens in this Order are qualified

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by this reservation of the rights of third parties. Ifthe Adequate Protection payments made exceed
the amount of adequate protection to which any Pre-Petition Credit Party is entitled, that excess
shall be applied to that Pre-Petition Credit Party’s allowed secured claim.

27. Debtors’ Waivers. At all times during the Chapter 11 Cases, and whether
or not an Event of Default has occurred, the Debtors irrevocably waive any right that they may
have to seek authority (1) until Full Payment of all DIP Obligations and Pre-Petition Debt, to obtain
post-petition loans or other financial accommodations pursuant to Section 364(c) or (d) of the
Bankruptcy Code, other than from the DIP Lenders on the terms and conditions set forth herein;
(ii) to challenge the application of any payments authorized by this Interim Order pursuant Section
506(b) of the Bankruptcy Code; (iii) to propose or support a plan of reorganization or liquidation
that does not provide for the indefeasible payment in fuli and satisfaction of all DIP Obligations,
and, subject to entry of the Final Order, all Pre-Petition Debt on or before the effective date of such
plan; (iv) to challenge that any security interests, claims or liens arising on account of
intercompany transactions are junior and subordinate to all DIP Obligations and Pre-Petition
Security Interests; or (v) to seek relief under the Bankruptcy Code, including, without limitation,
under Section 105 of the Bankruptcy Code, to the extent any such relief would in any way restrict
or impair the rights and remedies of any DIP Lender or any Pre-Petition Credit Party as provided
in this Interim Order or any of the DIP Loan Documents, as applicable, or a DIP Lender’s exercise
of such rights or remedies.

28. Service of Interim Order, Promptly after the entry of this Interim Order,
Debtors shall mail, by first class mail, a copy of this Interim Order, the Motion (and all exhibits
attached to the Motion), and a notice of the Final Hearing, to (without duplication) counsel for the

DIP Lenders and Pre-Petition Agent, the U.S. Trustee, the U.S. Securities & Exchange

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Commission, counsel for the Committee (or, if the Committee has not been formed and selected
counsel as of the entry of this Interim Order, then the Debtors’ consolidated 30 largest unsecured
creditors), the Internal Revenue Service, all parties who have filed requests for notices under Rule
2002 of the Bankruptcy Rules prior to the time of such service, and all parties known by a Debtor
to hold or assert a lien on any assets of a Debtor, and shall file a certificate of service regarding
same with the Clerk of the Court. Such service shall constitute good and sufficient notice of the
Final Hearing and the relief sought by the Debtors pursuant to the proposed Final Order.

29, No Deemed Control. In determining to make any DIP Loan under the DIP

emedies. as and when permitted pursuant to this Interim

 

Facility, ¢
Order, any Final Order or the DIP Loan Documents, no DIP Lender and no Pre-Petition Credit
Party shall be deemed to be in control of any Debtor or its operations or to be acting as a
“responsible person,” “managing agent” or “owner or operator” (as such terms are defined in the
United States Comprehensive Environmental Response, Compensation and Liability Act, 29
US.C. §§ 9601, ef seg., as amended, or any similar state or federal statute) with respect to the
operation or management of such Debtor.

30.  Exculpation. Effective upon entry of the Final Order, nothing in this Interim
Order, the DIP Loan Documents, or any other document related to the DIP Facility shall in any
way be construed or interpreted to impose or allow the imposition upon any DIP Lender or any
Pre-Petition Credit Party any liability for any claims arising from the pre-petition or post-petition
activities of any Debtor in the operation of its business or in connection with its restructuring
efforts. Effective upon entry of the Final Order, so long as a DIP Lender or Pre-Petition Credit
Party complies with its obligations under the applicable DIP Loan Documents and its obligations,

if any, under this Interim Order and applicable law (i) such DIP Lender or Pre-Petition Credit Party

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shall not, in any way or manner, be liable or responsible for (A) the safekeeping of the Collateral,
(B) any loss or damage thereto occurring or arising in any manner or fashion from any cause, (C)
any diminution in the value thereof, or (D) any act or default of any carrier, servicer, bailee,
custodian, forwarding agency or other person or entity; and (ii) all risk of loss, damage or
destruction of the Collateral shall be borne by the Debtors.

31. Binding Effect; Successors and Assigns, The provisions of the DIP Loan
Documents and this this Interim Order, including all findings herein (subject to Paragraph 26 of
this Interim Order) shall be binding upon all parties in interest in these Chapter 11 Cases,
including, without limitation, the DIP Lenders and Debtors and their respective successors and
assigns (including any Chapter 11 trustee hereafter appointed for the estate of any Debtor, any
Chapter 7 trustee appointed or elected in a Successor Case, any examiner appointed pursuant to
Section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of
any Debtor or with respect to the property of the estate of any Debtor), and shall inure to the benefit
of DIP Lenders and their respective successors and assigns. In no event shall any DIP Lender or
Pre-Petition Credit Party have any obligation to make DIP Loans to, or permit the use of the
Collateral Gincluding Cash Collateral) by, any Chapter 7 trustee, Chapter 11 trustee or similar
responsible person appointed or elected for the estate of any Debtor.

32. Final Hearing. The Final Hearing to consider entry of the Final Order shall
be held at LL 00 o’clock 4m., prevailing Eastern time one a iL, 2019, at Courtroom 2, 6%
Floor, United States Bankruptcy Court, 824 Market Street North, Wilmington, Delaware 19801.
The Final Hearing may be adjourned or postponed without further notice except as may be
announced in open Court or posted on the Court’s docket. If any or all of the provisions of this

Interim Order are modified, vacated or stayed as the result of any Objection (as defined below)

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timely filed and asserted at the Final Hearing, then, without limiting the provisions of Paragraph
26 hereof, any DIP Obligations incurred prior to the effective date of such modification, vacation
or stay shall be governed in ail respects by the original provisions of this Interim Order, and the
DIP Lenders shall be entitled to the protections afforded under Section 364(e) of the Bankruptcy
Codp.apdto-altthe tight
Liens-end-Superiority-Claims-eranted hereirand pursuant to the DIP Loan Doctimients wittrrespeet

33. Objection Deadline. If any party in interest shall have an objection to any

 

of the provisions of this Interim Order, any provisions of the DIP Loan Documents, or any
provisions of the proposed Final Order (collectively, an “Objection”), such party may assert such
Objection at the Final Hearing, if a written statement setting forth the basis for such Objection is
filed with the Court and concurrently served so as to be recetved on or before 99 fm. prevailing
Eastern time on Sep t. tb , 2019, by the following: (a) the Office of the United States Trustee, 844
King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801; (b) counsel for the Debtors,
Jeffrey N. Pomerantz, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd, 13th Floor,
Los Angeles, California, 90067-4003 and Peter J. Keane, Pachulski Stang Zieh! & Jones LLP, 919
N. Market Street, 17" Floor, Wilmington, Delaware 19801; and (c) counsel for the Pre-Petition
Agent and DIP Lenders, Derek F. Meek, Burr & Forman LLP, 420 North 20" Street, Suite 3400,
Birmingham, Alabama 35203. If an objecting party shall fail to appear at the Final Hearing and

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assert the basis for such Objection before the Court, such Objection,shall be deemed to have been

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waived and abandoned by such objecting party,

34. Insurance. To the extent the Pre-Petition Agent is listed as mortgagee, loss

payee or additional insured under any Debtor’s insurance policies, the DIP Lenders shall also

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deemed to be the loss payee, mortgagee or additional insured under such Debtor’s insurance
policies and shall act in that capacity and distribute any proceeds recovered or received in respect
of any such insurance policies.

35. Effectiveness; Enforceability. This Interim Order shall constitute findings
of fact and conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the
Petition Date immediately upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3),
6006(d), 7062, or 9014 of the Bankruptcy Rules or any other Bankruptcy Rule, or Rule 62(a) of
the Federal Rules of Civil Procedure, this Interim Order shall be valid, take full effect, and be
enforceable immediately upon entry hereof; there shall be no stay of execution or effectiveness of
this Interim Order; and any stay of the effectiveness of this Interim Order that might otherwise
apply is hereby waived for cause shown.

36. Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to
enforce the provisions of this Interim Order, and this retention of jurisdiction shall survive the
confirmation and consummation of any Chapter 11 plan for any Debtor notwithstanding the terms
or provisions of any such Chapter 11 plan or any order confirming any such Chapter 11 plan.

37. Inconsistencies. To the extent of any inconsistencies or conflicts between

this Interim Order and the DIP Loan Documents, this Interim Order shall govern.

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Dated: August 6, 2019 f

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Wilmington, DE det Lhe / . iL fi f f heh ie v4 MT.

“UNITED STATES BANKRUPTCY JUDGE

 

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EXBIBIT I

BUDGET

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iPic Entertainment, Inc.
DIP Cash Flow Forecast

 

 

 

  

 

 

  

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

(USD 000's)
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Week Number --> 4 2 3 4 § 8 7 8 $ 10 i 12 13 TOTAL
Week Stan Date > os/f02/19 os/08/18 OBEN OB/23/19 Os/30/19 Osfo6As OSA3N9 08/209 OB/27N9 10/04/19 1OMIMS 10/18 10/25/19 O8/029
Week End Date —> ogoa/19 o8si9 O8/22/19 8/29 09/08/19 og/12/19 09/19/19 og/26/19 10/03/19 10/09 40719 10/24/18 10/37/19 10/31/19 -
Operational Receipts 3,042 2,748 2,716 2,324 2,616 2,510 2,854 2,217 2,808 3,546 3,133 3,272 2,707 36,084
Operational Disbursements Lf
Payroll Costs (2,135) - (2,082) - (2,143) - (1,993) - (2,143) - (2,046) - (2,098) {14,840}
SGRA - (333) (98) (188) (268) (225) (98) (185) {860} (200) (141) (185) (190) » (8,057)
Film Rental - - (588) (478) {473) (404) (455) (4375 (462) (386) (454) 617} (648) |. * {8,287}
Cinema Operations - Rent & CAM - (1,714) - - (1,774) “ “ - (1,774) - - - - : (5,142)
Cinema Operations . (1,078) (750} {848} {798) (842) (736) (828) (812) (922) (815) (818} {878) » {10,067}
Other - (294) (443) (243} {203) (235) (443) (243) (209) (235) (443) (243} (209) (3,449)
Total Operational Disbursements {2,135) {3,419} {3,959) {1,754} {5,594} (1,707) (3,724) (1,684) (6,300) (1,743} (3,898) {1,863} {3,861} : {41,651}
[Net Cash Flow fram Operations 907 {671} {1,243) 570 {2,978} 803 {t,070} §23 {3,692} 1,803 (765) 1,403 (1,154) (5,557)
Restructuring
Restructuring Fees Escrow {230} (230) (230) (287) (257) (232) (232} (232) (232) (207) (207) (207) {207} (2,963)
Secured Lender Professional Fees - (370) - - (329) - ~ - (263) - - - {263) (1,228)
US Trustee Fees - - - - - - “ 7 - - - - {2514) “{281)
DIP Loan Interest and Fees - (320) - - (100} - - - (133) - - ~ - » (554)
PACAIPASA Claims - (1,105) - (245) “ " . - - - - - - (4,350)
Critical Vendor Claims - (2,181) (297} (892) - - - - - - - - “ Joe (3,180)
Utility Deposits - (403) - » “ “ . - - - - - - i OE AOSY
Other (2) (5) - - - - {8) - - - (5) - .
Total Restructuring (234) (4,600) (5273 (1,195) (687) {232) (237) (2323 (629) (2075 {212) (207) (722)
(Net Cash Flow 675 (5,270) (1,768) (624) (3,865) 571 (1,307) 291 (4,320) 1,596 (977) 4,202 (1,876) (15,476)
Liquidity Sammary
Beginning Cash Balance 453 1,12¢ 2,358 589 3,985 299 3,870 2,563 2,854 533 2,129 4,152 2,354 [oo eo 483
Net Cash Flow 875 (5,270) (1,769) (624) (3,885) 571 (1,307) 2¢1 (4,320) 4,596 (877} 4,202 (1,876) [2-505 (15,476)
DIP Advances / (Paydowns) - 6,500 - 4,000 - 3,000 - - 2,000 - - - S00 pov 2) 16,000
Ending Cash Balance 1,129 2,358 oe) 3,968 289 3,870 2,563 2,854 533 2,129 1,152 2,354 377 STT
[ore Loan Commitment 16,000 16,000 18,000 16,000 16,000 16,000 16,000 16,000 16,000 16,000 16,900 16,000 16,000 “16,000:
DIP Availability 16,000 9,500 9,500 5.500 §,500 2,500 2,500 2,500 500 500 500 500 a WISE Ss
[Total Available Liquidity (Cash + DIF} 17,129 11,858 10,089 9,465 5,799 6,370 §,063 5,354 1,033 2,629 1,652 2,854 ST7 377
Funded DIP Facility « BOP - - 6,500 6,500 10,500 10,500 13,500 13,500 13,500 15,500 15,500 15,500 15,500 foc oy
+ Advances - 6,500 - 4,000 : 3,600 - - 2,000 - - - BOO pee 418,000
~ (Paydewns) - - - - - - - - “ “ ca - - EA ae
Funded DIP Facility - EOP - 6,560 6,500 10,560 16,500 13,506 13,600 13,500 15,500 15,500 15,500 15,500 16,000 16,000

 

 

 
iPi¢ Entertainment, Inc.
Professional Fees Schedule

 

 

 

 

 

 

 
 

 

 

 

 

(USD GO0"s)
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Restructuring Fees Escrow wee
Debtor Counsel (PSZ1} {105} (105) {105} (105) (105) (80} (80) (80} {80) {55} (55) (55) (55}
Debtor CRO (59) (89) (59) (69) (59) (88) (59) (59) (58) {59) (89) (63) {59}
Debtor FA (25) (25) (25) (25) (25) {25} (25) (25) {25} {25} (25) (28) (25)
UEC Counsel - ~ - (18) {18) (15) (15) (18) (15) {15) (15) (18) (15}
UCC FA - . - {13} {13} (13) {13} (13) (43) (13) (13) (13) (13)
Investment Banker (23) (29) {29} (28) {29} (23) (29) {29) (28) (29) (29) (29) {29}
Noticing & Claims Agent (12) (12) {12} (42) (12} (12) (12) (12) (12) (12) (12) (12) (12}
[Total Restructuring Fees Escrow (236} {230} (230) (257) (257) {232} (232) (232) (232) (207) (207} (207) {2075
Secured Lender Professional Fees
Secured Lender Counsel ~ {270) - - (209) - - {467) - - - {167}
Secured Lender FA - {100) - - (120) - - - (968) - - (86)
[Tetal Secured Lender Protessional Fees - {370) - = {323} * - - {263} - - = {263}

 

 

 
